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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


SPRINT COMMUNICATIONS CO., L.P.,

      Plaintiff,

v.
                                               Case No. 11-2686-JWL

TIME WARNER CABLE, INC., et al.,

      Defendants.



    DEFENDANTS TIME WARNER CABLE, INC., ET AL.’S MEMORANDUM IN
 SUPPORT OF MOTION UNDER RULES 50(b) AND/OR 59(a) FOR JUDGMENT AS A
                MATTER OF LAW OR FOR A NEW TRIAL
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  I.   INTRODUCTION

       Pursuant to Federal Rule of Civil Procedure 50(b), Time Warner Cable, Inc. et al.

(“TWC”) respectfully request judgment as a matter of law (“JMOL”) that (1) Sprint

Communications Co., L.P. (“Sprint”) is not entitled to the damages found by the jury, (2) TWC

did not infringe the asserted claims of Sprint’s patents, either literally or under the doctrine of

equivalents, (3) the asserted claims are invalid, and (4) any infringement was not willful. TWC,

therefore, requests that the Court issue JMOL, deciding these issues in TWC’s favor.

Alternatively, TWC requests a new trial on issues (1)-(3) under Rule 59(a).

 II.   LEGAL STANDARD

       JMOL is appropriate where, as here, “[t]here is no legally sufficient evidentiary basis for

a reasonable jury to find for [Sprint].” See Fed. R. Civ. P. 50(a)(1); Etherton v. Owners Ins. Co.,

829 F.3d 1209, 1224 (10th Cir. 2016) (quoting Elm Ridge Expl. Co., LLC v. Engle, 721 F.3d

1199, 1216 (10th Cir. 2013)) (“Judgment as a matter of law is appropriate . . . [where] evidence

points but one way[.]”). It is the Court’s “duty to direct a verdict in favor of [TWC]” in such

situations. See Chisholm Bros. Farm Equip. Co. v. Int’l Harvester Co., 498 F.2d 1137, 1140 (9th

Cir. 1974); accord Brady v. Southern Ry., 320 U.S. 476, 479-80 (1943).

       “Rule 59 provides the mechanism by which a court can . . . set aside a verdict and order a

new trial.” King v. Berryhill, No. 15-1293-JWL, 2017 WL 513971, at *1 (D. Kan. Feb. 8, 2017)

(quotation omitted); see Fed. R. Civ. P. 59(a). A motion for a new trial “normally involves a

review of the facts presented at trial[.]” Sheedy v. BSB Props., LC, No. 2:13-cv-290-JNP, 2016

WL 4126463, at *2 (D. Utah Aug. 2, 2016) (quotation omitted). “In deciding a new trial motion

based on insufficiency of the evidence, a district court must analyze whether the verdict ‘is

clearly, decidedly or overwhelmingly against the weight of the evidence.’” Elm Ridge Expl. Co.,




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LLC, 721 F.3d at 1216 (quoting M.D. Mark, Inc. v. Kerr-McGee Corp., 565 F.3d 753, 762 (10th

Cir. 2009)).

III.   ARGUMENT

       A.      The Court Should Grant JMOL On Sprint’s Requested Damages

       TWC renews its request that the Court grant JMOL on Sprint’s requested damages of

$139,800,000—which the jury awarded in full.         “The burden of proving damages falls on

[Sprint].” Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324 (Fed. Cir. 2009); see also

LaserDynamics, Inc. v. Quanta Comp., Inc., 694 F.3d 51, 75 (Fed. Cir. 2012). For the reasons

set forth below, Sprint’s damages theory rested on unsupported and contradictory assumptions

and did not comply with principles of damages law. Thus, Sprint has failed to sustain its burden.

JMOL1 should be granted.

               1.     Dr. Rao Admittedly Has No Damages Opinion Unless The Patents Are
                      “Blocking Patents,” Which Sprint Failed To Prove

       As TWC explained in its Rule 50(a) Motion, Sprint’s sole evidence of damages, its

expert’s (Dr. Mohan Rao’s) damages opinion, rests on a critical factual assumption that Sprint

failed to prove at trial. Specifically, Dr. Rao admitted he has no damages opinion unless Sprint’s

patents are “blocking patents” (a term he used to refer to the assumed fact that, absent a license,


1
  Sprint’s damages evidence requires JMOL because it is legally insufficient to sustain Sprint’s
burden. However, should the Court deny TWC’s JMOL Motion, TWC alternatively requests a
new trial under Fed. R. Civ. P. 59. In connection with such a new trial, Sprint should be
precluded from (i) proffering its flawed damages analyses, (ii) supplementing its expert opinions
and/or offering new opinions, and (iii) seeking additional evidence through discovery, given that
the relevant disclosure deadlines have long passed. In short, Sprint should not be permitted to
benefit from its evidentiary failure (e.g., by seeking at a new trial damages in excess of $139.8
million), and TWC would be prejudiced if Sprint were permitted to do so. See Fed. R. Civ. P.
37(c)(1); see also Aid for Women v. Foulston, No. 03-1353-JTM, 2005 WL 6964192, at *4 (D.
Kan. July 14, 2005) (excluding supplemental expert report submitted after disclosure deadlines
passed and refusing to reopen discovery because that would “undermine[] the very reason for . . .
deadlines”). Accord Wannall v. Honeywell, Inc., 775 F.3d 425, 429 (D.C. Cir. 2014) (upholding
exclusion of revised expert opinion submitted after disclosure deadlines).

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“you cannot practice voice over IP technology and connect to the PSTN without infringing

[Sprint’s] patents”) (Tr. 1067:1-6 (Rao)); 2 (see Dkt. 432 at 1-6). Although “Dr. Rao may

certainly base his opinions on [this] assumption[],” this Court made clear that “Sprint will be

obliged at trial to support” the assumption with sufficient evidence. (Dkt. 286 at 33-34.) The

Court was correct in imposing upon Sprint the requirement of evidentiary support for Dr. Rao’s

assumption. The Tenth Circuit has explained that while an expert is permitted to testify based on

factual assumptions, those “facts assumed by [the expert must] be shown by the evidence.” TK-7

Corp. v. Estate of Barbouti, 993 F.2d 722, 731-32 (10th Cir. 1993); see also, e.g., In re Durso

Supermarkets, 193 B.R. 682, 703 (S.D.N.Y. 1996) (“It is the burden of the proponent of an

expert’s opinion to prove that the underlying assumptions of the experts are true.”). In particular,

it is “plantiffs[’] . . . burden of proving the underlying assumptions contained in the[ir damages

expert’s] report”; if they do not, “plaintiffs fail[] to meet their burden of showing damages” and

JMOL is warranted. TK-7 Corp. 993 F.2d at 732, 734-35. That is the precise situation here.

                       a.      Dr. Rao’s “Blocking Patent” Assumption Was Critical To His
                               Damages Analysis

       Dr. Rao admitted at trial that he has no damages opinion unless the asserted patents are

“blocking patents,” meaning that it is impossible to “practice voice over IP technology and

connect to the PSTN without infringing.” (Tr. 1067:1-6; see Tr. 1066:13-1069:14 (Rao); see

also Tr. 2776:7-20 (Sprint counsel agreeing that, for Dr. Rao’s opinion to stand, it must be

“assume[d] that [Sprint’s patents] are blocking patents, . . . [without] which you cannot hook up

to the PSTN from a packet-based network”).) As Dr. Rao explained, the “blocking patent”




2
  All trial transcript excerpts and trial exhibits are attached as Exhibits C and D, respectively, to
the Declaration of Stephanie N. Grace (“Grace Decl.”), filed concurrently.

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assumption is essential to his opinion because, otherwise, he would need to calculate a royalty

for each of the patents individually, which he did not do:

                 Q. And it’s true, isn’t it, that in your report, you haven’t provided
                    any opinion regarding what the royalty would be if the patents
                    are not blocking patents, right?
                 A. Correct. Again, I have to take – as an economist, I have to take
                    an assumption from a technical expert. So in this case, I relied
                    on Dr. Wicker for the blocking patent opinion. Had he given
                    me a different kind of opinion, … I would have calculated a
                    royalty rate that split up across those patents.
                 Q. And you understand that from Dr. Wicker that the Christie
                    patents are key patents without which you cannot operate VoIP
                    and interconnect to the PSTN, right?
                 A. That’s my understanding from Dr. Wicker.

(Tr. 1068:22-1069:14 (Rao) (emphases added); see Grace Decl., Ex. A (Rao Rep.) at ¶¶ 32-38

(describing the blocking patent assumption).)

       Dr. Rao explained his “blocking patent” assumption using an analogy that the PSTN

interconnectivity offered by Sprint’s patents is like a toll bridge. (Tr. 1020:22-1023:12 (Rao).)

Specifically, he testified that “Sprint’s technology is sort of the toll gate to using that bridge”;

and, in order to offer those services, a licensee “would only pay once because that’s the value of

-- of the technology.” (Id. at 1022:5-9.) In other words, according to Dr. Rao, “whether it’s one

patent or five patents, when they’re blocking patents,” Sprint is entitled to receive his prescribed

royalty. (Id.)

       Dr. Rao’s “blocking patent” assumption was thus the reason why Sprint did not redo its

entire damages analysis when, just three days before trial, Sprint dropped two of the patents-in-

suit that it had long asserted against TWC, reducing the number of patents-in-suit from seven to

five. Until then, Sprint collectively asserted seven of the “Broadband” and “Call Control”

patents against TWC. (See, e.g., Grace Decl., Ex. A (Rao Rep.) at ¶ 4; see infra n. 11 (defining




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patents).) Accordingly, Dr. Rao’s $1.37 royalty figure reflected the price that TWC would pay

not just for the five patents ultimately tried, but for seven patents including two additional

patents that Sprint dropped. (See Dkts. 352, 355 (dropping two patents).) After dropping those

patents, however, Sprint did not revise, reduce, or reapportion its damages claim. Instead, Sprint

asserted that TWC should pay the same $1.37 figure regardless of the number of patents

infringed, and therefore regardless of whether seven or five patents were tried, because each

patent-in-suit is a “blocking patent.” 3

        Thus, Dr. Rao’s admission—that his entire analysis rests on the assumption that the

patents-in-suit are “blocking patents”—was not an oversight or harmless error. Rather, that

assumption was critical to Dr. Rao’s damages opinion which is the sole basis for Sprint’s

damages claim and the jury’s damages verdict. Dr. Rao has no opinion, and Sprint has no

damages claim, if the “blocking patent” assumption lacks support.

                        b.      Dr. Rao’s “Blocking Patent” Assumption Lacks Any
                                Evidentiary Basis In The Record And Is Contradicted By The
                                Court’s Rulings

        Although Sprint’s entire damages claim critically depends on the “blocking patent”

assumption, Sprint has offered no evidence, let alone legally sufficient evidence, to support it.

To the contrary, the Court’s findings regarding TWC’s equitable defenses contradict, and are

ultimately fatal to, Dr. Rao’s “blocking patent” assumption. In its findings, the Court identified a



3
  Although unnecessary to support TWC’s Motion for JMOL in view of Dr. Rao’s unequivocal
reliance on his failed “blocking patent” assumption, Dr. Rao also further elaborated on the
critical importance of his “blocking patent” assumption when explaining his reliance on the
Paetec and VoiceGlo settlement agreements. Those agreements covered more than 100 patents,
not merely the five patents-in-suit. Dr. Rao admitted that he did not apportion the value of the
100+ licensed patents other than the five patents at issue here, claiming that his “blocking patent”
assumption obviated any need to do so. (See, e.g., Grace Decl., Ex. B (Rao Dep.) at 89:4-91:21,
505:6-513:24 (Dr. Rao explaining that he did not need to do separate analyses for the value of
the 100+ patents licensed to VoiceGlo and Paetec because of his “blocking patent” assumption).)

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failure of proof—no evidence demonstrated that every system that connects VoIP to PSTN was

proven to infringe, as would be required to support Dr. Rao’s “blocking patent” assumption:

       [It is] Sprint’s position that its patents were blocking patents that covered any
       attempt to connect VoIP to the PSTN. . . . No person with the requisite technical
       knowledge, however, testified that Time Warner Cable actually infringed before
       2010, and Sprint’s expert explicitly disclaimed any such opinion. Nor did Time
       Warner Cable’s expert perform any such analysis of the pre-2010 equipment in
       light of Sprint’s specific infringement allegations.

(Dkt. 476 at 19.)

       This explanation echoed the Court’s earlier observation on TWC’s Rule 50(a) Motion:

the notion that “any hookup to the PSTN from a packet-based system [i.e., VoIP] must infringe”

is not based on any “competent evidence” in the record but instead, is based on “surmise and

conjecture.” 4 (Tr. 1424:24-1425:4 (ruling on initial Rule 50(a) Motion).) In other words, the

Court had already concluded no competent evidence exists that the Sprint patents are “blocking

patents” by Dr. Rao’s definition, and as required to support Dr. Rao’s opinion. Indeed, the Court

noted that none of Sprint’s witnesses supports that proposition: neither Dr. Rao nor Sprint

employees (such as Harley Ball) were “qualified to have given any such opinion,” and Dr.

Wicker “disclaimed any [such] opinion.” (Tr. 1425:4-15.) 5

       Moreover, Sprint affirmatively contends that “the ‘brain’ and the ‘bridge’ of Mr.

Christie’s inventions were first deployed by TWC in its Go-It-Alone network in the fall of

2010,” and that “there is insufficient evidence . . . to support an inference that the date of first

infringement is any date other than October 2010.” (Dkt. 402 at 17-18 (emphasis added).)


4
  The Court also held before trial that “it cannot be determined whether TWC actually infringed
before 2010.” (Dkt. 286 at 34 (Daubert Order) (emphasis added).)
5
  Although Dr. Wicker testified that TWC’s Go It Alone network infringed beginning in 2010, he
did not do so for TWC’s earlier VoIP-to-PSTN connections—such as Pine Tree beginning in
2003—or for any other architectures. To the contrary, according to Sprint, “Dr. Wicker
conclude[d] that there was insufficient evidence in the record to determine whether TWC’s pre-
GIA” VoIP-to-PSTN connections infringed the patents. (Dkt. 402 at 15 n. 9 (emphasis added).)

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Sprint made this assertion in order to advance 2010 as the date of TWC’s first infringement,

which Sprint needed to support its damages theory and to oppose TWC’s equitable defenses.

But Sprint’s assertion that no evidence showed that TWC’s pre-2010 VoIP-to-PSTN activities

infringe necessarily and logically signifies that not all VoIP-to-PSTN systems infringe, which

directly refutes Dr. Rao’s critical “blocking patent” assumption. Indeed, it is undisputed that

TWC began connecting VoIP services to the PSTN with TDM interconnects in 2003 with MCI

and Pine Tree, and offered VoIP-to-PSTN services on its own in New Hampshire in 2005—all of

which Sprint has never accused of infringement. (See, e.g., Tr. 1072:7-11, 1075:25-1076:9,

1077:8-11 (Rao); Tr. 1969:15-18 (Nichols); 2017:3-2023:3 (MacDermott); Dkt. 379, Ex. A

(Modi Dep.) at 57:9-58:7; Trial Ex. 200 at §§ 4.2, 17.4; Trial Ex. 1515.)

       Sprint did not, and cannot, prove Dr. Rao’s assumption that the patents are “blocking

patents” if TWC’s pre-2010 activities connecting its VoIP network to the PSTN do not also

infringe. Absent such proof, Dr. Rao has no damages opinion, Sprint has no damages claim (as

to which it has the burden), and the damages verdict cannot stand.          Therefore, JMOL is

warranted.

                       c.     The Jury’s Implicit Finding That TWC First Began Infringing
                              The Patents-In-Suit No Earlier Than 2010 Contradicts Dr.
                              Rao’s “Blocking Patent” Assumption

       Separately and independently from Sprint’s failure of evidence that the Sprint patents are

“blocking patents,” any such assertion could not be supported in view of the jury’s factual

determination in response to the Court’s special interrogatory No. 20 that the date of the

hypothetical negotiation was 2010. (Dkt. 449 at 18 (jury answering affirmatively interrogatory

No. 20:      “Do you find that Sprint proved, by a preponderance of the evidence, that the

appropriate date of the hypothetical royalty negotiation between the parties is 2010?”).) This

finding was made after the jury was instructed that any reasonable royalty it awarded must be


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what “would have [been] agreed to in a hypothetical negotiation taking place at a time prior to

when the infringing use first began.” (Dkt. 447 at 44 (emphasis added).) The necessary and

inescapable implication from the jury’s finding is that infringement began no earlier than

sometime in 2010. Thus, Sprint’s patents could not be “blocking” because it is undisputed that

TWC began offering VoIP services that connected to the PSTN in 2003. In other words, if the

date of TWC’s first infringement was in 2010, such that TWC first began infringing the patents-

in-suit in 2010 and was not infringing while practicing VoIP technology and connecting to the

PSTN before 2010, then it cannot be the case that all VoIP services that connect to the PSTN

infringe as required by Dr. Rao’s “blocking patent” assumption. Because Dr. Rao’s analysis

(and Sprint’s damages claim) depend on the critical assumption that the patents are “blocking,”

the damages verdict must be set aside in view of the jury’s implicit finding that infringement

commenced no earlier than 2010.

              2.     Alternatively, If The Patents Are “Blocking Patents,” Then The First
                     Infringement Was In 2003, In Which Case Dr. Rao Has No Opinion

       Even if there were sufficient evidence for the jury to find that Sprint’s patents are

“blocking patents” (and there is not), JMOL would still be warranted. If Sprint’s patents are

“blocking patents” such that they are required for connecting to the PSTN to provide VoIP

services, TWC’s date of first infringement would be in 2003 when TWC began connecting to the

PSTN through Pine Tree, not in 2010 (as the jury implicitly found). But Dr. Rao has no opinion

about damages based on a 2003 hypothetical negotiation date.

       More specifically, and as explained in TWC’s Rule 50(a) Motion, Sprint’s “blocking

patent” assumption and 2010 date-of-first-infringement theory are logically contradictory and

create a Catch-22 conundrum. Under Sprint’s definition of “blocking patents,” every VoIP

system that connects to the PSTN infringes. (Tr. 1068:22-1069:14 (Rao).) Thus, Sprint’s



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patents must necessarily cover all of TWC’s non-Sprint VoIP-to-PSTN activities before 2010,

which started with Pine Tree in 2003. But Dr. Rao has no damages opinion, and Sprint has no

damages claim, based on a hypothetical negotiation that occurred at any time other than 2010.

(Tr. 1071:5-12, 1076:10-1078:8, 1079:23-1080:7 (Rao) (Dr. Rao conceding he “had done no

analysis based on the assumption that the hypothetical negotiation was . . . anything other than

2010”).) Therefore, if the patents are “blocking,” the damages verdict must be set aside for this

separate and independent reason. Sprint’s damages theory rests on a Catch-22 of contradictory

assumptions.

       It does not matter that Sprint has only accused TWC of infringement starting in 2010.

Rather, it matters when the conduct began. In LaserDynamics, Inc., 694 F.3d at 75-76, for

example, the hypothetical negotiation date was 2003 even though defendant’s liability started in

2006. See also, e.g., Wang Labs., Inc. v. Toshiba Corp., 993 F.2d 858, 870 (Fed. Cir. 1993)

(hypothetical negotiation date was beginning of infringing conduct in 1987, even though

defendant not liable until 1990); Fromson v. W. Litho Plate and Supply Co., 853 F.2d 1568,

1574-77 (Fed. Cir. 1988) (similar), overruled on other grounds by Knorr-Bremse Systeme Fuer

Nutzfahrzeuge GmbH v. Dana Corp., 383 F.3d 1337 (Fed. Cir. 2004).

       Fujifilm Corp. v. Motorola Mobility LLC, No. 12-cv-03587-WHO, 2015 WL 1265009

(N.D. Cal. 2015), upon which Sprint relies, is inapposite because the activity accused of

infringement there was an entirely different product from the earlier infringing product. Here,

Sprint has not and cannot distinguish in any way, much less a meaningful way, between TWC’s

pre-2010 activity and post-2010 activity. By assuming that the patents are “blocking patents,”

Dr. Rao’s damages opinion requires there be no meaningfully different ways of connecting VoIP

to the PSTN. Therefore, even if the evidence were sufficient to find that the patents are




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“blocking” (and it is not), it follows that the date of first infringement was 2003, not 2010. And,

because Sprint offered no evidence of a hypothetical negotiation that occurred at a time other

than 2010, the damages verdict cannot stand. JMOL is still warranted.

               3.      Regardless, Dr. Rao Admits That His Damages Opinion Ultimately
                       Stems From “Junk Science”

       Finally, TWC renews its argument that, even if there were sufficient evidence to find that

2010 is the hypothetical negotiation date (and there is not), there is insufficient evidence to

support Sprint’s damage request for another reason: Dr. Rao’s proposed $1.37 royalty calculation

is fundamentally flawed. (Dkt. 390 at 16-18.) 6 Dr. Rao testified (and TWC’s expert, Dr.

Putnam, confirmed) that Dr. Rao’s damages opinion is based on the jury’s verdict in Vonage.

However, a prior verdict, and particularly the Vonage verdict tainted by the “25 percent rule of

thumb” which the Federal Circuit rejected in Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d

1292, 1315 (Fed. Cir. 2011), and which Dr. Rao characterized as “junk science,” is insufficient

to support the verdict in this case. (See Tr. 1058:10-12, 1059:19-1060:19; see also id. 1055:2-22,

1111:7-17.) Therefore, Sprint has insufficient evidence to support its damages request which

was the sole basis for the jury’s damages verdict. 7




6
 TWC acknowledges that the Court previously considered and rejected this argument, as well as
TWC’s objections to the admission, introduction, use of, or reliance upon the Vonage verdict for
any purpose. (Tr. 1425:16-19; see Dkts. 134, 136, 151, 319 at 9-12, 325; see also Dkt. 286 at 4-
5, 21-26, 342, 343 at 50:19-54:14.)
7
  There is also insufficient evidence for the jury’s damages award for the additional reasons set
forth in TWC’s Daubert Motion and its Motions in Limine (Dkts. 136, Att. 1; Dkt. 319),
including Dr. Rao’s failure to comply with principles of apportionment, to support his opinion
under the entire market value rule, failure to apportion the Vonage subscriber revenues based on
the smallest salable patent practicing unit or otherwise, and his failure to apportion damages on a
patent-by-patent by basis. (Dkt. 136, Att. 1 at 17 n. 10, 26-28; see id. at 10-28; see also Dkts.
151, 286 at 4-5, 21-32, 319 at 12-18, 325, 342, 343 at 50:19-54:14.)

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       B.     The Court Should Grant JMOL Of Non-Infringement Or Alternatively,
              Order A New Trial On The Issue Of Infringement

       Sprint did not satisfy its burden of proving that TWC infringed any asserted patent claim,

literally or under the doctrine of equivalents. To prove that TWC literally infringed a claim,

Sprint was required to introduce sufficient evidence at trial that the accused system meets every

limitation of the claim. See, e.g., Rohm & Haas Co. v. Brotech Corp., 127 F.3d 1089, 1092 (Fed.

Cir. 1997). To prove infringement under the doctrine of equivalents, Sprint bore the burden of

satisfying either the insubstantial differences test or the function-way-result test. See Dawn

Equip. Co. v. Kentucky Farms Inc., 140 F.3d 1009, 1015-16 (Fed. Cir. 1998). To satisfy these

evidentiary burdens, Sprint was required to present expert testimony from which the jury could

reasonably conclude that TWC infringed. See AquaTex Indus. v. Techniche Sols., 479 F.3d

1320, 1329 n. 7 (Fed. Cir. 2007) (“Even where literal infringement is involved, expert

infringement testimony is generally required in cases involving complex technology.”). 8

Without such testimony, “the jury is left to speculate” instead of making a reasoned factual

determination based on evidence. In re Mirena, 2016 U.S. Dist. LEXIS 99221, at *17; id. at

*18-19 & n.13 (citing cases). Conclusory expert testimony is insufficient to sustain a finding of

infringement. See Mirror Worlds, LLC v. Apple Inc., 692 F.3d 1351, 1358 (Fed. Cir. 2012)

(affirming JMOL of non-infringement because expert’s testimony was “conclusory”).




8
  See, e.g., Talvera v. Wiley, 725 F.3d 1262, 1268 (10th Cir. 2013) (affirming medical
malpractice summary judgment due to absence of admissible expert testimony); Treaster v.
HealthSouth Corp., 442 F. Supp. 2d 1171, 1179-81 (D. Kan. 2006) (Lungstrum, J.) (granting
partial summary judgment for defendants in medical malpractice case due to absence of
admissible expert testimony); In re Mirena HUD Prods. Liab. Litig., Nos. 13-MD-2434 (CS),
13-MC-2434 (CS), 2016 U.S. Dist. LEXIS 99221, at *15-19 & n. 13 (S.D.N.Y. July 28, 2016)
(collecting cases) (granting defendants summary judgment for defendants in product liability
case due to absence of admissible expert testimony).


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       Here, no reasonable fact finder could conclude that TWC infringed the asserted patents

based on the testimony of Sprint’s expert Dr. Wicker and Sprint’s other evidence. TWC is

therefore entitled to JMOL of non-infringement or a new trial on the issue of infringement.

               1.      The Jury Had No Reasonable Basis To Find That TWC Performed
                       The “In Response To” Limitation

       All of the asserted claims of the ’052, ’064, ’084 and ’429 patents (four of the five

patents-in-suit) contain the “in response to” limitation. 9 A device, such as the interworking unit,

must convert or transfer a voice communication “in response to” receiving a particular message.

The Court held that “in response to” has a “plain and ordinary meaning,” and explained that this

meaning includes “the concept of causation.” (Dkt. 98 at 52; Dkt. 348 at 5-7.)

       Sprint failed to prove that TWC’s interworking unit converts or transfers a voice

communication “in response to” receiving a particular message. Sprint’s expert Dr. Wicker

identified the “MDCX” (modify connection) message as the accused message for inbound calls

and the “CRCX” (create connection) message as the accused message for outbound calls, and

alleged that after receiving these messages, TWC’s MGX media gateway (the accused

interworking unit) converts and transfers voice. (Tr. 601:15-23, 710:3-15 (CRCX), 829:16-

830:7 (MDCX), 827:25-828:17 (same reasons for all the claims) (Wicker).) Critically, however,

Dr. Wicker never provided any basis for his assertion that the MGX converts voice “in response

to” receiving these messages as required by the claims. Instead, he testified that “in response to”

receiving the message, the MGX performed a “mapping.” (Tr. 604:2-13, 838:2-10, 848:4-

849:17 (Wicker).)     Sprint provided no evidence whatsoever that this mapping constitutes


9
 Sprint asserted the following independent claims: 1 (’052 patent (Trial Ex. 3)), 1 and 24 (’561
patent (Trial Ex. 2)), 1 (’064 patent (Trial Ex. 6)), 1 (’084 patent (Trial Ex. 7)) and 1 (’429 patent
(Trial Ex. 5)). If an independent claim is not infringed, its dependent claims are also necessarily
not infringed. (Dkt. 447 at 29.)


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conversion and transfer—because it does not. To the contrary, the undisputed evidence confirms

this “mapping” is merely the establishment of a threshold correspondence between a DS0 and an

IP address and port number that will be used when the MGX later performs the conversion.

(See, e.g., Tr. 758:9-16 (Wicker), Tr. 1656:9-20 (Cannon), Tr. 1741:24-1742:6 (Almeroth).) But

simply establishing that threshold correspondence does not cause any conversion or transferring

to occur. 10 Just like mapping out a road trip is far different than actually driving the car to the

destination that has been mapped-out, the mapping performed by the MGX is far different than

actually converting and transferring a communication.

       Indeed, during closing argument, Sprint’s counsel abandoned Dr. Wicker’s allegation that

merely performing “mapping” in response to the messages satisfies the “in response to”

limitation. Instead, he argued that the MGX converts and transfers “in response to” receipt of the

MDCX and CRCX messages because, even though a number of intervening steps occur between

the receipt of these messages and the converting/transferring, the converting/transferring all

necessarily occur after the intervening steps “like a series of dominos” or like putting your “foot

on the gas, and in response to that, [the] car goes forward.” (Tr. 2883:10-2884:16.) However,

Sprint introduced no evidence at trial to support its lawyer’s domino theory. That failure by

itself means that the verdict cannot stand.

       In contrast, TWC presented undisputed evidence that receipt of a MDCX/CRCX message

is not the first in a series of dominos leading to converting/transferring because other events—


10
  It was also undisputed (and in fact admitted by Dr. Wicker) that what does occur “in response”
to receiving the accused MDCX and CRCX messages is that the MGX sends a “200 OK
message.” (Tr. 846:17-847:4 (Wicker), Tr. 1743:4-14 (Almeroth).) The relevant protocol
actually defines the “200 OK message” as being sent “in response to” receiving the MDCX and
CRCX message. (Id.) Because this response does not satisfy the claims’ requirement that
conversion and transfer occur “in response to” the message, Dr. Wicker ignored it. (Tr. 847:16-
848:3 (Wicker).)


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which may or may not occur in the normal course—must all occur in order for there to be any

conversion or transfer.    (See, e.g., Tr. 1653:17-1655-20 (Cannon), Tr. 1730:14-1733:20

(Almeroth).)   One of those events, for example, is the called party choosing to answer the

ringing telephone, which may not occur. (See, e.g., Tr. 843:6-845:13, 846:8-16 (Wicker), Tr.

1742:19-22 (Almeroth).) Sprint did not dispute TWC’s evidence that no conversion or transfer

of voice communications will occur after the MGX receives a MDCX/CRCX message unless the

called party answers the phone and speaks. (Tr. 846:8-16 (Wicker).) Nor did Sprint dispute that

many other intervening steps must occur in between receipt of the MDCX/CRCX message and

any conversion or transfer (Tr. 845:20-846:2 (Wicker)), and that no conversion or transfer will

occur unless those additional steps are successfully performed (Tr. 843:22-845:13, 846:12-16

(Wicker), Tr. 1739:24-1741:8 (Almeroth)). Accordingly, judgment of non-infringement should

either be entered in favor of TWC on the ’052, ’064, ’084 and ’429 patents, or a new trial should

be ordered on infringement.

               2.     The Jury Had No Reasonable Basis To Determine That The Accused
                      System Satisfied Other Claim Limitations

       “Asynchronous communication”: The term “asynchronous communication” appears in

each asserted independent claim of the Broadband Patents. 11 The Court explained that a person

of ordinary skill in the art would understand the plain and ordinary meaning of “asynchronous

communication” to require that “the transmitting and receiving devices do not share a common

clock.” (Dkt. 98 at 40-41; Dkt. 348 at 5-7.) Dr. Wicker agreed, testifying that “with regard to

asynchronous, we said there’s no timing relationship with regard to the packets and how they’re

transmitted and received” but that with synchronous “[t]here is going to be a timing

relationship.” (Tr. 720:13-21 (Wicker).)
11
  The ‘064, ‘084, and ‘429 patents are collectively referred to as the “Broadband Patents.” The
‘561 and the ‘052 patents are together referred to as the “Call Control Patents.”

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       Sprint   failed   to   show   that   TWC’s    voice   traffic   constitutes   “asynchronous

communication(s).” It was undisputed at trial that: (1) voice packets in TWC’s accused system

must traverse a DOCSIS network (see, e.g., Tr. 718:1-719:12 (Wicker)); and (2) TWC’s

DOCSIS network requires use of a shared clock to transmit and receive voice packets that must

be sent in specific time slots (Tr. 1402:25-1405:13, 1707:19-23 (Almeroth)). Accordingly,

judgment in TWC’s favor therefore should be entered on each asserted claim of the ’064, ’084

and ’429 patents.

       “Processing . . . to select”: The phrase “processing . . . to select” or “selecting” appears

in claim 1 of the ’429 patent, claims 1 and 24 of the ’561 patent, and claim 1 of the ’052 patent.

It is the claimed “processing system” that must perform the “processing … to select,” and what

must be “selected” is a “network code” or “identifier” of a device used for egress from a “packet

communication system.” (Tr. 597:18-598:6, 641:25-642:16, 661:18-24, 737:8-738:15 (Wicker).)

The Court construed “processing . . . to select” to mean “processing . . . to participate in the

selecting.” (Dkt. 98 at 28-31; Dkt. 285 at 12-16; Dkt. 346 at 26-29.) Sprint failed to show that

TWC’s accused “processing system” “participates in the selecting” of a “network code” or

“identifier” because it is the MGX 8880 and eMTA, rather than the accused processing system,

which perform these selections.

       According to Sprint, the eMTA or MGX 8880 (depending on whether the call is an

inbound or outbound call) is the device used for egress, and the IP address of that device is the

accused “network code” or “identifier.” (See, e.g., Tr. 598:20-599:3, 662:2-23 (Wicker).) But

the undisputed evidence, including from Dr. Wicker himself, is that the eMTA and MGX 8880

devices themselves select their own IP addresses—all the “processing system” does is ask the

eMTA or MGX 8880 which IP address it wants to use. (See, e.g., Tr. 663:14-19, 826:17-827:24




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(Wicker).) As TWC’s expert Dr. Almeroth explained, that does not constitute participating in

the selection. (Tr. 1718:1-1723:13, 1725:22-1728:4 (Almeroth).) Specifically, for an outbound

call, TWC’s accused “processing system” asks the MGX 8880 which IP address to use, and the

MGX 8880 selects its own IP address and port number to use for the call and sends that address

back to the “processing system.” (Tr. 1718:1-1723:13 (Almeroth).) Similarly, for an inbound

call, TWC’s accused “processing system” asks the eMTA which IP address to use, and the

eMTA selects its own IP address and port number to use for the call and sends that address back

to the “processing system.” (Tr. 1725:22-1728:4.) As Dr. Wicker acknowledged, the accused

“processing system” merely receives the selected IP address, while it is the eMTA and MGX

8880 devices that actually select the IP address. (Tr. 663:14-19, 822:16-25, 826:17-21, 827:17-

24 (Wicker), 1646:11-18, 1653:17-1654:21, 1666:20-25 (Cannon), 1718:1-9, 1725:22-1726:7

(Almeroth).) Based on this evidence, no reasonable fact finder could conclude that the accused

systems satisfy the “processing . . . to select” limitation and judgment of non-infringement

should be entered on these patents. 12

       “Interworking Unit”: All asserted claims of Sprint’s Broadband Patents require an

“interworking unit.” The Court construed “interworking unit” to mean “ATM interworking

multiplexer.” (Dkt. 98 at 31-35; Dkt. 346 at 26-29.) The function of an ATM interworking

multiplexer is to convert content to/from ATM (asynchronous transfer mode) in order to

interface an ATM network with some other type of network. 13 Cisco’s MGX 8880 (the alleged


12
   Moreover, a “network code” as used in the claims cannot be a mere IP address of an eMTA as
Sprint alleged at trial. It must include at least a port number because, as the patents themselves
teach, egress is not possible without both the IP address and port number. (See, e.g., Trial Ex. 3
(’052 patent) 12:51-57.) As Sprint did not present evidence on this claim requirement, TWC is
entitled to JMOL for this additional reason.
13
  Sprint did not present any evidence as to how one of ordinary skill in the art would understand
the meaning of “ATM interworking multiplexer.” In contrast, TWC’s expert Dr. Almeroth,

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“interworking unit”) does not perform these functions in TWC’s networks, leading the jury to

find no literal infringement of this limitation. 14 (Dkt. 449 at 1.) The verdict therefore can only

be sustained if Sprint proved that TWC’s use of the MGX 8880 satisfies the “interworking unit”

limitations under the doctrine of equivalents. However, no reasonable jury could conclude that

Sprint proved that TWC’s use of the MGX8880 satisfies the “interworking unit” limitations

under the doctrine of equivalents in light of the substantial, undisputed differences between an

ATM interworking unit and TWC’s IP-based MGX 8880.

        First, the undisputed evidence shows that ATM uses virtual circuits to set up a fixed end-

to-end path for a call that is maintained for the duration of the call, and that the role of the ATM

interworking multiplexer in that process is to connect a circuit in the PSTN to an ATM virtual

circuit. (Tr. 1749:3-1750:19 (Almeroth).)      In contrast, basic IP (internet protocol) as used by

TWC does not set up a fixed path for a call and does not use circuits or virtual circuits at all.

(See, e.g., Tr. 1660:16-1662:23 (Cannon); Tr. 1780:8-1782:8 (Almeroth).)             Moreover, the

“identifier” used in ATM and assigned by an ATM interworking multiplexer is a VPI/VCI that

designates the next leg on the end-to-end path and has only local significance. (Tr. 1782:9-

1785:10 (Almeroth).) In contrast, IP uses an IP address that designates an endpoint for the



presented substantial evidence that it is a device that converts content to and from ATM in order
to interface an ATM network with some other type of network. (Tr. 1744:15-24, 1747:10-
1756:6 (Almeroth); Trial Ex. 2906 at 3; Trial Ex. 7 (’084 Patent), Abstract; Trial Ex. 7 (’084
Patent) at 2:38-41; Trial Ex. 7 (’084 Patent) at 1:57-59; Trial Ex. 7 (’084 Patent) at 4:35-37; Trial
Ex. 7 (’084 Patent) at 5:8-10.)
14
  The undisputed evidence shows that, rather than converting to or from ATM, the MGX 8880
converts between TDM format and IP format. (See, e.g., 1777:7-15 (Almeroth).) Although the
MGX 8880 uses ATM to transport IP packets over a few inches of the device’s backplane
through encapsulation, it does not receive or output ATM cells and does not interface or connect
to an ATM network. (See Tr. 1774:19-25, 1766:17-1767:3, 1777:7-15 (Almeroth).) Moreover,
the evidence established that encapsulation is not a form of conversion. (See Tr. 1754:14-1756:3
(Almeroth).)


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communication and is recognized globally across the network. (Id.) Sprint’s expert Dr. Wicker

himself recognized these fundamental differences. (Tr. 868:8-876:4 (Wicker).)

       In light of these and other differences, no reasonable jury could conclude that “receiving”

a communication in an ATM interworking multiplexer, “converting” a communication by an

ATM interworking multiplexer, or “transferring” a communication from an ATM interworking

multiplexer—as required by the claims—is only insubstantially different from the “receiving,”

“converting,” and “transferring” performed by TWC’s IP-based MGX 8880. (See Tr. 1791:16-

1795:18 (Almeroth).) Dr. Wicker offered only conclusory testimony regarding the function-

way-result test—alleging despite the conceded differences that the “function” and “result” were

identical—and provided no evidence from which the jury could reasonably find that Sprint

carried its burden. (See, e.g., Tr. 715:12-716:19, 725:25-727:3, 729:3-730:2 (Wicker).)

       Instead, Sprint primarily relied on the “known interchangeability” factor and asserted that

the MGX 8880 is equivalent to an ATM interworking multiplexer because its IP card can be

swapped out for an ATM card. (See, e.g., Tr. 697:17-699:24 (Wicker).) As an initial matter,

while known interchangeability is a factor to consider, it is “certainly not dispositive.” See

Chiuminatta Concrete Concepts, Inc. v. Cardinal Indus., Inc., 145 F.3d 1303, 1309 (Fed. Cir.

1998). As a result, alleged evidence of known interchangeability does not remedy Dr. Wicker’s

conclusory testimony. Moreover, Sprint’s assertion merely speaks to the flexibility of the MGX

hardware, but is in no way probative of whether an MGX having an IP card was known by those

of skill in the art to be interchangeable with an ATM interworking multiplexer or even an MGX

having an ATM card. In fact, the only evidence presented at trial was that replacing the MGX

8880 IP card with an ATM card would prevent the device from working in an IP network—i.e.




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they are not interchangeable. (See, e.g., Tr. 1663:18-23 (Cannon) (swapping out cards would

require a “massive re-engineering effort”), 1789:2-10 (Almeroth).)

       At least for these reasons, TWC is entitled to judgment that it does not infringe the

Broadband Patents.

       “Identifier”: The asserted claims of the ’429 and ’084 patents require “identifiers” that

are received into and used by the ATM interworking multiplexer, which must be VPI/VCIs. (Tr.

1750:13-19, 1762:2-10 (Almeroth), 2180:7-2181:4, 2186:17-2187:8 (Min).) Sprint failed to

prove that TWC’s MGX 8880s use ATM identifiers as required by the claims. In fact, the

undisputed evidence is that TWC does not use ATM identifiers. (See, e.g., Tr. 1774:1-12

(Almeroth).) Thus, judgment of non-infringement should be entered on these claims.

       “Formatted for a narrowband system”: Claim 1 of the ’052 patent requires “receiving

signaling formatted for a narrowband system;” claim 1 of the ’561 patent requires receiving

signaling “from a narrowband communication system;” and claim 24 of the ’561 patent requires

sending signaling “to the narrowband communication system.” Sprint failed to prove that TWC

meets these limitations, as it was undisputed at trial that TWC receives the accused signaling

from and sends the accused signaling to Syniverse in IP format, not formatted for a

“narrowband” system. (See, e.g., Tr. 638:6-16 (Wicker).) Indeed, there is no evidence that

Syniverse is a narrowband communication system. Thus, judgment of non-infringement should

be entered on these claims.

       “Network element to provide egress”: Claim 1 of the ’052 and claim 1 of the ’561

patent require a “network element to provide egress” from a “packet communication system.”

The egress refers to leaving one network to enter another network. (See, e.g., Trial Ex. 3, ‘052

patent, 12:46-57.) Sprint failed to prove that TWC’s accused eMTA meets these limitations.




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The evidence shows that when a user communication is sent to an accused eMTA, it remains on

TWC’s accused packet network. (See, e.g., Tr. 581:15-21, 644:6-17 (Wicker).) The subscriber

located at the eMTA may answer her phone and participate in the call, but the user

communication never “egresses” from the eMTA to another network. (Id.) Accordingly, TWC

is entitled to judgment of non-infringement for the ’052 patent and claims 1, 3, 15, and 23 of the

’561 patent.

       “Converting the asynchronous communication into a user communication”: All

asserted claims of the ’064 patent require “converting the asynchronous communication into a

user communication.” Sprint failed to prove that TWC performs this converting. Indeed, no

evidence exists that TWC ever converts an “asynchronous communication” from a form that is

not a “user communication” into a “user communication.”           TWC is therefore entitled to

judgment of non-infringement for the ’064 patent.

       Sending and receiving within the same system: Claim 1 of the ’052 patent requires

“transferring a packet . . . from the device to the packet communication system.”          Sprint

identifies TWC’s MGX 8880 as the accused “device.” (Tr. 602:15-603:19 (Wicker).) However,

Sprint failed to show that TWC performs this limitation at least because the MGX 8880 is part of

TWC’s accused IP network (the alleged “packet communication system”) and the accused

packets never leave this network. (Tr. 717:20-718:4 (Wicker).) Therefore, the MGX cannot send

packets “to the packet communication system” any more than a person in the U.S. sending a

letter to someone else in the U.S. can be said to be sending a letter “to the U.S.” Similarly,

claims 1 and 24 of the ’561 patent require “transferring . . . from the processing system to the

packet communication system.”        Sprint accuses TWC’s BTS-T and/or CMS/IMS as the

“processing system,” but, again, these are indisputably part of the same accused packet




                                               20
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communication system. (See, e.g., Tr. 599:15-20, 648:16-649:14 (Wicker).)           Therefore, they

cannot send “to” it. Thus, TWC is entitled to judgment of non-infringement of the ’052 and ’561

patents.

       C.      The Court Should Grant JMOL Of Invalidity Or Alternatively, Order A
               New Trial

               1.      Sprint’s Patents Are Invalid For Lack Of Written Description

       A reasonable jury could only conclude that TWC proved by clear and convincing

evidence that the asserted claims of Sprint’s patents, as construed by the Court, fail to satisfy the

written description requirement of 35 U.S.C. § 112 and are therefore invalid because the inventor

was not in possession of the as-construed, claimed subject matter.

       The specification of the Call Control Patents purports to disclose a new way to use a

signaling network to set up a fixed end-to-end path for a call before the calling and called parties

can speak. (See, e.g., Tr. 2158:16-2159:2 (Min).)        To do this, the specification purports to

disclose the use of ATM switches that can receive signaling to setup a path on a call-by-call

basis. (See, e.g., Tr. 2164:17-2165:11 (Min).) However, such ATM switches did not exist in the

first place and were not described in the patents. (Tr. 2174:7-2176:14; Trial Ex. 5, ‘429 patent,

1:45-56.)   Consequently, the inventor could not have had possession of the alleged invention.

See Novozymes A/S v. Dupont Nutrition Biosciences APS, 723 F.3d 1336, 1344 (Fed. Cir. 2013)

(“A ‘mere wish or plan’ for obtaining the claimed invention does not satisfy the written

description requirement.”); Fiers v. Revel, 984 F.2d 1164, 1171 (Fed. Cir. 1993) (recognizing

that “one cannot describe what one has not conceived”).

       Moreover, it is undisputed that the claims as construed by the Court are broad enough to

encompass telephone calls made over IP networks, which do not set up end-to-end

communication paths and do not use separate signaling networks. (Tr. 2254:22-2255:1 (Min).)



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Therefore, even if the purported ATM switches had existed, the specification fails to disclose an

IP network for voice or an invention having applicability to IP networks. (Tr. 2135:23-2136:12

(Min).)     The Call Control specification simply cannot support claims that cover making

telephone calls over IP networks, and the as-construed, asserted claims of the Call Control

Patents must therefore be held invalid for lack of written description.

          All claims of the Broadband Patents require an interworking unit, which the Court has

construed to mean an ATM interworking multiplexer. (Dkt. 98 at 31-35; Dkt. 346 at 26- 29.)

But according to the Court, and as Sprint has relied on in filings, several other terms in the

claims of the Broadband Patents have not been limited to ATM, including “identifier,” “routing,”

and “asynchronous communication.” (Dkt. 98 at 18, 27, 42; Dkt. 285 at 10; Dkt. 333 at 17-18.)

Without such limitations, these broad terms are not supported by the Broadband Patents

specification, which discloses only ATM identifiers, ATM routing, and ATM asynchronous

communications. (Tr. 2182:13-2186:5 (Min).) Because the claims of the Broadband Patents

have been interpreted to cover IP identifiers, IP routing, and asynchronous communications that

are IP, the claims of the Broadband Patents must be held invalid for lack of written description.

                 2.     Sprint’s Patents Are Invalid As Anticipated And Obvious

          A reasonable jury could only conclude that TWC proved by clear and convincing

evidence that the asserted claims of Sprint’s patents are invalid over the prior art as both

anticipated and obvious. TWC’s evidence and expert witnesses established that the asserted

claims are anticipated by Larry Schessel’s European Patent Application No. 0 578 964 A2

(herein “EP ’964”) and obvious over EP ’964 in combination with either the knowledge of a

person of ordinary skill in the art or the 1991 publication Vision O.N.E. – Optimized Network

Evolution by Messrs. Binder and Schaffer (herein “Telcom Report”).




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        TWC’s expert Dr. Henry Houh testified that these prior art references disclose the

claimed architecture—such as a call processor and ATM interworking multiplexer—and

explained, on an element by element basis, how each claim limitation is either taught by EP ’964

or obvious in combination with knowledge of a person of ordinary skill in the art or the Telcom

Report. (See, e.g., Tr. 2322:14-2359:24, 2362:10-25, Tr. 2363:1-2364:8 (Houh).) Dr. Wicker

only offered conclusory testimony to the contrary. (Tr. 2728:18-2729:10 (Wicker).)

        JMOL, or alternatively, a new trial, is accordingly appropriate on the issue of invalidity

for all asserted claims.

        D.      The Court Should Grant JMOL Of No Willfulness

        To prove willful infringement, Sprint had the burden of putting forth sufficient evidence

for a reasonable jury to conclude that TWC offered the accused VoIP services with knowledge

that they infringed the patents. See Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1933

(2016). Under the Court’s instructions, this required proof that TWC acted under a “risk of

infringement that was . . . known or so obvious that it should have been known” to TWC.

WesternGeco L.L.C. v. ION Geophysical Corp., 837 F.3d 1358, 1362 (Fed. Cir. 2016) (quotation

omitted); (Tr. 2803:12-20). 15 Despite the jury’s verdict, the evidence cannot reasonably allow a

finding that TWC implemented the accused VoIP services with knowledge that they infringed.

        As the Court found in its post-trial ruling on the issue of enhancement, “[t]here was no

evidence that Time Warner Cable actually knew that it was infringing.” (Dkt. 476 at 32 n.8.)
15
   Over TWC’s objections, the Court held that the jury should not be instructed on whether the
alleged willful infringement was “egregious”—i.e., “wanton, malicious, bad-faith, deliberate,
consciously wrongful, flagrant, or . . . characteristic of a pirate.” See Halo Elecs., Inc., 136 S. Ct.
at 1933; (see Tr. 2803:2-20). TWC maintains its objection to the Court’s final jury instruction on
willfulness because it omits the foregoing standard and allows willfulness based merely on
whether the risk was known or “so obvious” that is should have been known (Tr. 2803:21-22,
2804:18-24) and maintains that Sprint presented insufficient evidence that TWC engaged in
“egregious” conduct under the proper standard (Dkt. 432 at 23-24). Regardless, Sprint’s
evidence was insufficient for a willfulness finding even under the Court’s instructions.

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Similarly, Sprint adduced insufficient evidence that TWC should have known of infringement in

view of Sprint’s undisputed failure to identify any of its patents for seven years with full

knowledge of TWC’s VoIP service offering, its failure to ever assert TWC infringed its patents

prior to suit, and its vague identification of only two of its patents seven years after TWC

commenced use of the very same PacketCable technology accused of infringement here. A

reasonable jury could only conclude that TWC believed it was not engaging in infringing

activity. See WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1340-41 (Fed. Cir. 2016) (belief

regarding non-infringement relevant to willfulness finding); see also Am. Med. Sys., Inc. v. Med.

Eng’g Corp., 6 F.3d 1523, 1530 (Fed. Cir. 1993) (“[W]illfulness requires the fact-finder to find .

. . that the infringer acted in disregard of the patent . . . [and] had no reasonable basis for

believing it had a right to do the acts.” (emphasis added) (quotation omitted)); see also Eastman

Kodak Co. v. Agfa-Gevaert NV, 560 F. Supp. 2d 227, 305 (W.D.N.Y. 2008) (“not unreasonable

for Defendants to believe that products in the market for years were free of infringement” after

receiving no accusation of infringement for six years). Indeed, TWC’s belief that its activities

were not infringing is underscored by the fact that, as this Court found, TWC “did not

deliberately copy Sprint’s ideas or design” in its accused 2010 Go It Alone VoIP network. (Dkt.

476 at 32.)

       The Court should thus grant JMOL of no willfulness.

IV.    CONCLUSION

       For the foregoing reasons, TWC respectfully requests that the Court enter JMOL, or

alternatively, order a new trial on the issues specified.




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                                     CERTIFICATE OF SERVICE

        I hereby certify that on April 11, 2017, DEFENDANTS TIME WARNER CABLE, INC.,

ET AL.’S MEMORANDUM IN SUPPORT OF MOTION UNDER RULES 50(b) AND/OR

59(a) FOR JUDGMENT AS A MATTER OF LAW OR FOR A NEW TRIAL was filed

electronically with the Clerk of the Court using the CM/ECF system, which sent notification of

filing to all attorneys of record.



                                             s/ Terrence J. Campbell
                                             Terrence J. Campbell




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